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15 Attorneys for Plaintiff
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17                            UNITED STATE DISTRICT COURT
18                           CENTRAL DISTRICT OF CALIFORNIA
                                   WESTERN DIVISION
19
20
       KAJEET, INC.,                 Case No. 8:18-cv-01519
21
             Plaintiff,              STIPULATION TO EXTEND TIME TO
22                                   RESPOND TO INITIAL COMPLAINT BY NOT
23                  v.               MORE THAN 30 DAYS (L.R. 8-3)

24     QUSTODIO, LLC,                Complaint Served: August 31, 2018
                                     Current Response Date: September 21, 2018
25           Defendant.              New Response Date: October 22, 2018
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30      STIPULATION TO EXTEND TIME TO RESPOND TO INITIAL COMPLAINT BY NOT MORE
                                     THAN 30 DAYS
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     Case 8:18-cv-01519-JAK-PLA Document 22 Filed 09/19/18 Page 2 of 3 Page ID #:279




 1          IT IS HEREBY STIPULATED, pursuant to Local Rule 8-3, by and between Plaintiff
 2 Kajeet, Inc. (“Plaintiff”) and Defendant Qustodio, LLC (“Defendant”), that Defendant may
 3 have a thirty (30) day extension of time, up to and including October 22, 2018, to file an
 4 answer or otherwise respond to Plaintiff’s Complaint in the above-captioned action. No
 5 prior extension has been requested by Defendant.
 6
 7     Dated: September 19, 2018             /s/ Brandon C. Fernald
                                             Brandon C. Fernald
 8
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                                             Attorneys for Plaintiff
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23
       Dated: September 19, 2018             /s/Zaiba Baig___________
24
                                             Manish Mehta
25                                           Zaiba Baig
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 4
                                                Attorneys for Defendant
 5
 6
 7
                                  SIGNATURE ATTESTATION
 8
 9          Pursuant to Civil Local Rule 5-4.3.4(a)(2)(i), I hereby certify that authorization for
10 the filing of this document has been obtained from each of the other signatories shown
11 above and that all signatories concur in the filing’s content.
12     Dated: September 19, 2018                /s/ Brandon C. Fernald
                                                Brandon C. Fernald
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